IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,
V. Case No. 24-00177-01-CR-W-DGK
CHRISTOPHER W. McGOWEN,
a/k/a “Mac,”
Defendant.
PLEA AGREEMENT

Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties
described below have entered into the following plea agreement:

1. The Parties. The parties to this agreement are the United States Attorney’s Office
for the Western District of Missouri (otherwise referred to as “the Government” or “the
United States”), represented by Jeffrey P. Ray, Acting United States Attorney, and Bradley K.
Kavanaugh, Assistant United States Attorney, and the defendant, Christopher W. McGowen, a/k/a
“Mac” (“the defendant”), represented by Gregory Nathaniel Watt.

The defendant understands and agrees that this plea agreement is only between him and
the United States Attorney for the Western District of Missouri, and that it does not bind any other
federal, state, or local prosecution authority or any other government agency, unless otherwise
specified in this agreement.

2. Defendant’s Guilty Plea. The defendant agrees to and hereby does plead guilty to

Count One of the Indictment, charging him with a violation of 18 U.S.C. §§ 1959(a)(3) and 2, that
is assault with a dangerous weapon in aid of racketeering, Count Two of the Indictment, charging

him with a violation of 18 U.S.C. §§ 1959(a)(6) and 2, that is attempt to commit assault with a

Case 4:24-cr-00177-DGK Document 204 _ Filed 05/13/25 Page1of18
dangerous weapon in aid of racketeering, Count Three of the Indictment, charging him with a
violation of 18 U.S.C. §§ 1959(a)(3) and 2, that is assault with a dangerous weapon in aid of
racketeering, and Count Four of the Indictment, charging him with a violation of 18 U.S.C,
§§ 924(c)(1)(A)(ili) and 2, that is discharge of a firearm during and in relation to a crime of
violence. By entering into this plea agreement, the defendant admits that he knowingly
committed these offenses, and is in fact guilty of these offenses.

3. Factual Basis for Guilty Plea. The parties agree that the facts constituting the

offenses to which he is pleading guilty are as follows:

The Pagan’s Motorcycle Gang (“PMG”) is a violent criminal organization
whose members and associates engage in criminal activities such as drug
trafficking, robbery, extortion, assault, and attempted murder in the Western
District of Missouri and elsewhere. The PMG is an organization that maintains
established membership chapters in numerous U.S. States and territories, including
multiple active chapters in Missouri. The PMG and their associates have engaged
in numerous types of violent crimes to obtain and maintain control over other
motorcycle clubs and gangs all over the United States. The PMG are territorial
and protect their territory from rival Outlaw Motorcycle Gangs (“OMG”) through
violence and intimidation. The primary rivals to the PMG in Missouri include the
Hells Angels, Outlaws, El Forastero, Galloping Goose, Sons of Silence, and the
Bandidos. To protect the power, reputation, and territory of the PMG enterprise,
members and associates of the PMG are required to commit acts of violence, threats
of violence, and acts of intimidation. These acts of violence include assault, often
with deadly weapons including firearms and axe handles. PMG members and
associates maintain and enhance their status in the PMG enterprise by participating -
in such violent acts. The PMG also work with and often incorporate “support
clubs” to enforce territory and engage in violence against rival OMGs. Members
of these support clubs usually use their position to earn full-patched membership
into the PMG. In Missouri, the primary support club for the PMG was the Los-
Valerosos (“LV”).

On May 17, 2022, LV member Graham Gattis, a/k/a “Dro,” sent a Signal
message to the PMG Kansas City Chapter President Christopher W. McGowen,
a/k/a “Mac,” with a photo of two Bandidos OMG members, Victim #1 and Victim
#2, sitting ata bar. Upon receipt of the photos, MeGowen directed Gattis, “If they
are there when you get there let them know that that is a Pagan bar now and they
are not welcome lol”. Two weeks later, on May 30, 2022, Victim #1 was assaulted
by eight to twelve members of the PMG and LV at the Sonic Drive-In, in Grain
Valley, Missouri. Among the eight to twelve were MeGowen, PMG member

2

Case 4:24-cr-00177-DGK Document 204 _ Filed 05/13/25 Page 2of18
Jeremiah Z. Hahn, a/k/a “Pass Out,” and LV support club member John J. Hahn,
a/k/a “Krazy Legs”. Jeremiah Z. Hahn, who was armed with an axe handle, struck
Victim #1 with the axe handle as others used their fist. Victim #1, who was alone
at the time, received injuries prior to fleeing in his vehicle. MeGowen was later
awarded a “Taking Care of Business” (TCB) patch and Jeremiah Z. Hahn was
awarded a “42” patch for this event.

On September 3, 2022, PMG member Charles E. Smith, Jr., a/k/a “Crash,”
was assaulted at the Rawhide Harley Davidson, in Olathe, Kansas, by members of
the Sons of Silence (“SOS”) OMG. Following the assault, PMG and LV members
met at the residence of PMG member James W. Prettyman, a/k/a “Rugby” in Blue
Springs, Missouri to plot a revenge attack. Members devised a plan to travel as a
group to Topeka, Kansas to find a SOS member. The PMG members had learned
that the SOS were having an event in Topeka, Kansas the same weekend that SOS
members had attacked Smith. The plan was to use either an axe handle or a gun
on one of the SOS members.

PMG and LV members, including: President of Presidents (“POP”) for the
Southwest PMG John T. Fisher, a/k/a “T-Bone”, MeGowen, Jeremiah Z. Hahn,
PMG Branson/Joplin Chapter President Robert W. Miller, a/k/a “Flipper,” PMG
member Arthur L. Reynolds, a/k/a “Straight Edge”, Smith, Prettyman, LV
Warrensburg Chapter President Monty L. Mitchell, a/k/a “Smoke,” and LV
member Alan M. Thornton, a/k/a “Bones”, loaded into multiple vehicles and
traveled from Blue Springs, Missouri to Topeka, Kansas to begin searching for a
SOS victim. As “POP,” Fisher made the decision who went to Topeka, Kansas
and they were to “smash on sight” anyone they saw. Fisher wanted to “catch a
stray” (SOS member). Once in Topeka, Kansas, Fisher handed Jeremiah Z. Hahn
a gun and “they discussed that they should shoot a SOS member.” The PMG
Topeka assault team then located a SOS member in the Wyndham Topeka
Downtown Hotel parking lot. Upon locating their target, Jeremiah Z. Hahn said,
“As soon as I fire, I need you to get the fuck out of here.” As Jeremiah Z. Hahn
rolled down the car window to shoot, Reynolds objected, stating “he didn’t want to
do this,” that he believed the goal of retaliation was assault of a SOS member, not
murder. The decision was then made to return to Missouri without attacking the
SOS member. Jeremiah Z. Hahn, who was the PMG’s Missouri State Set. at
Arms, told Reynolds that if it happened again, he would take his “cut” (PMG’s
OMG jacket, putting Reynolds out of the club). Jeremiah Z. Hahn was later
awarded a “Regulator” patch for the SOS incident in Topeka, Kansas.

On the afternoon of September 17, 2022, Prettyman sent the following
Signal message to other PMG and LV members: “To night [sic] we are showing
out in force in blue springs [sic] meet at qt on 7 and 70 at 7 for those that are working
do not respond everyone else needs to reply.” The following PMG and LV
responded that they copied the call to action: PMG prospect Jeffrey S. Hannah,
a/k/a “Got-It,” PMG prospect Mark A. Cottman, a/k/a “One Shot,” Jeremiah Z.
Hahn, Mitchell, John J. Hahn, and Reynolds.

3

Case 4:24-cr-00177-DGK Document 204 _ Filed 05/13/25 Page 3of18
That evening, at approximately 8:51 p.m., officers with the Blue Springs,
Missouri, Police Department (“BSPD”) were dispatched to US 40 Highway and SE
Adams Dairy Parkway, Blue Springs, Missouri, in response to a shooting. Upon
arrival, BSPD officers located several motorcycles and individuals suffering from
gunshot wounds on the side of US 40 Highway. The BSPD officers immediately
recognized many of the individuals suffering from gunshot wounds were wearing
vests emblazoned with OMG patches, including PMG, LV, and one vest with
Bandidos’ insignia. As BSPD officers arrived on scene, PMG members Prettyman
and Smith were attempting to collect clothing and an axe handle from the crime
scene.

Following the shooting, four victims were transported to area hospitals with
gunshot wounds. A fifth individual, Gattis, walked into St. Mary’s hospital with
gunshot wounds to both legs. Gattis was driven to the hospital in a white pickup
truck by LV associates Bryan S. Fletcher, a/k/a “Fletch” and Eric M. Forsyth, Jr.,
a/k/a “EZ.” The five individuals shot were: Mitchell, John J. Hahn, Cottman,
Gattis, and a Bandidos motorcycle gang member. Cottman had a gunshot wound
to the thigh, John J. Hahn had wounds to his calf and thigh, and Mitchell had a
wound to his back. The Bandidos member had been shot seven times, with
wounds to his knee, thigh, forearm, biceps, buttocks and back of his leg.

Investigators later learned that in addition to Gattis, Fletcher, and Forsyth,
the following had fled the scene of the shooting prior to the arrival of law
enforcement: _MeGowen, Miller, PMG prospect Brandon S. Hodge, a/k/a
“Youngblood,” Reynolds, and Hannah.

The investigation revealed the shooting occurred after numerous PMG and
LV members chased down and forced the lone Bandidos member to stop on the
side of US 40 Highway in Blue Springs. At the scene, investigators observed six
motorcycles on the shoulder of US 40 Highway. Throughout the crime scene,
officers observed multiple 9mm and .45 caliber shell casings, a loaded .45 caliber
magazine, a Colt .45 caliber pistol, an axe handle, and a set of LV colors.
Investigators observed one of the motorcycles, a maroon and silver Harley
Davidson, had a full-face helmet on the seat with stickers showing membership in
the PMG. This helmet, which belonged to Prettyman, also contained a sticker of
the Bandidos’ “Fat Mexican” insignia, with a fiery sword, called “Twilight,”
running through the head and out of the face of the “Fat Mexican.” Investigators
obtained search warrants for the six motorcycles and upon execution, seized
additional firearms, ammunition, bloody clothing, and PMG and LV vests.

Based on Prettyman’s September 17th Signal message directing members
to meet at QuikTrip at the intersection of Highway 7 and I-70 prior to the shooting,
law enforcement obtained the QuikTrip surveillance video. The video captured
some of the PMG members who were present in Blue Springs prior to the shooting,
including PMG members and prospects Smith, MceGowen, Reynolds, Miller,
Hodge, and Cottman. At least two other PMG members were observed in the

4

Case 4:24-cr-00177-DGK Document 204 _ Filed 05/13/25 Page 4of18
video but not identified due to their distance from the camera. Additionally,
several members and prospects of the LV were observed meeting the PMG
members. The investigative team was able to identify some of those subjects as
Gattis, Fletcher, and Forsyth.

On November 22, 2022, the Bandidos victim (“Victim #2”) agreed to an
interview with investigators. Victim #2 identified himself as the Sergeant at Arms
for the Kansas City, Missouri, chapter of the Bandidos. Asked about the
circumstances leading up to the shooting, Victim #2 said just prior to the shooting,
he had been heading home from the funeral of a fellow Bandidos member in
Oklahoma. As Victim #2 exited off I-70 East onto 40 Highway, he noticed there
was a vehicle pacing him. Victim #2 continued riding south on 40 Highway.
When Victim #2 arrived at the light at the intersection of 40 and 7 Highways, he
observed a motorcycle driver and passenger on a motorcycle parked at the
intersection. At about this same time, Victim #2 heard other motorcycles coming
up from behind him. As he rolled through the light at the intersection of 40 and 7
Highways, the other motorcycles who had pulled up behind him began trying to
force him over on the side of 40 Highway. Victim #2 feared what would happen
if the other motorcycles were able to force him off the road, so he attempted to
speed away. The other motorcycles pursued him. At this time, Victim #2
observed a white pickup truck traveling with the motorcycles that were pursuing
him.

As Victim #2 approached the intersection of 40 Highway and SE Adams
Dairy Parkway, he realized the motorcycles and truck were “on him” and he was
not going to be able to get away. Victim #2 thus locked the brakes on his
motorcycle and slid off onto the shoulder of the road. Victim #2 believed that had
he not stopped on his own, he would have been forced off the road. Victim #2 said
he left his helmet on, as he was aware of the assault of another Bandido member,
Victim #1, that occurred on May 30, 2022, at the Grain Valley Sonic Drive-In, by
PMG members.

Victim #2 parked his motorcycle facing east. The PMG and LV members
on the other motorcycles turned around and were facing west towards him. As the
PMG and LV members dismounted their motorcycles and ran up to him, Victim #2
flipped up his visor and said “We ain’t gotta do this. You stay in your lane, I’ll
stay in my lane.” Victim #2, who knew MeGowen previously, said that
McGowen replied “Yes, we do” and then someone shot Victim #2 twice. After
being shot twice, Victim #2 — still standing — returned fire. During the exchange
of fire, Victim #2 was struck in the arm, causing him to drop his gun. As he turned
to get away, Victim #2 recalled being shot two more times.

Victim #2 explained, while it was difficult to see because he was looking

into the headlights of the PMG and LV members’ motorcycles, he did see that one
of his attackers was carrying a “pick handle.” Asked why the PMGs and LVs had

Case 4:24-cr-00177-DGK Document 204 _ Filed 05/13/25 Page5of18
decided to attack him, Victim #2 said he was unsure of the motive but advised he
had heard the PMG had offered a $5,000 bounty on the Bandidos “patch.”

On and between October 7, 2022, through October 9, 2022, numerous PMG
members involved in the Bandidos shooting attended a PMG State party in Sulphur
Springs, Texas. “Mother Club” PMG members, a/k/a “13s”, were in attendance.
At the meeting, Reynolds, MeGowen, Hannah, and Cottman were awarded
“Taking Care of Business” (“TCB”) patches for their role in the Bandidos shooting
incident. Smith received two “T'CB” patches — one for his actions during the
Rawhide Harley Davidson assault on September 3, 2022, and a second for his role
in the Bandidos shooting. Cottman also received his PMG patch, becoming a
PMG member. Later, while at PMG Nationals in Pennsylvania, Miller and Hodge
were awarded TCB patches for their involvement in the shooting.

4, Use of Factual Admissions and Relevant Conduct. The defendant acknowledges,

understands and agrees that the admissions contained in Paragraph 3 and other portions of this plea
agreement will be used for the purpose of determining his guilt and advisory sentencing range
under the United States Sentencing Guidelines (“U.S.S.G.”), including the calculation of the
defendant’s offense level in accordance with U.S.S.G. § 1B1.3(a)(2). The defendant
acknowledges, understands and agrees that the conduct charged in any dismissed counts of the
Indictment as well as all other uncharged related criminal activity may be considered as “relevant
conduct” pursuant to U.S.S.G. § 1B1.3(a)(2) in calculating the offense level for the charge to
which he is pleading guilty.

5. Statutory Penalties. The defendant understands that upon his plea of guilty to Count

One of the Indictment, charging him with a violation of 18 U.S.C. §§ 1959(a)(3) and 2, that is
assault with a dangerous weapon in aid of racketeering, the maximum penalty the Court may
impose is not more than twenty (20) years’ imprisonment, a $250,000 fine, and three (3) years of
supervised release. The defendant further understands that this offense is a Class C felony.

The defendant understands that upon his plea of guilty to Count Two of the Indictment,

charging him with a violation of 18 U.S.C. §§ 1959(a)(6) and 2, that is attempt to commit assault

6

Case 4:24-cr-00177-DGK Document 204 _ Filed 05/13/25 Page 6of18
with a dangerous weapon in aid of racketeering, the maximum penalty the Court may impose is
not more than three (3) years’ imprisonment, a $250,000 fine, and one (1) year of supervised
release. The defendant further understands that this offense is a Class E felony.

The defendant understands that upon his plea of guilty to Count Three of the Indictment,
charging him with a violation of 18 U.S.C. §§ 1959(a)(3) and 2, that is assault with a dangerous
weapon in aid of racketeering, the maximum penalty the Court may impose is not more than twenty
(20) years’ imprisonment, a $250,000 fine, and three (3) years of supervised release. The
defendant further understands that this offense is a Class C felony.

The defendant understands that upon his plea of guilty to Count Four of the Indictment,
charging him with a violation of 18 U.S.C. §§ 924(c)(1)(A)(iii) and 2, that is discharge of a firearm
during and in relation to a crime of violence, the minimum penalty the Court may impose is ten
(10) years imprisonment, while the maximum penalty the Court may impose is life imprisonment
and not more than a $250,000 fine. In addition, the Court shall impose not more than five (5)
years of supervised release. Further, notwithstanding any other provision of law, the Court shall
not place on probation any person convicted of this offense and any term of imprisonment for this
count shall be in addition to, and run consecutive to, any other term of imprisonment imposed.
The defendant further understands that this offense is a Class A felony.

Lastly, the defendant understands that the Court shall impose a $100 mandatory special
assessment per felony count of conviction, which must be paid in full at the time of sentencing.

6. Sentencing Procedures. The defendant acknowledges, understands and agrees to

the following:
a. In determining the appropriate sentence, the Court will consult and

consider the United States Sentencing Guidelines promulgated by the United States
Sentencing Commission; these Guidelines, however, are advisory in nature, and the

Case 4:24-cr-00177-DGK Document 204 _ Filed 05/13/25 Page 7of18
Court may impose a sentence either less than or greater than the defendant’s
applicable Guidelines range, unless the sentence imposed is “unreasonable”;

b. The Court will determine the defendant’s applicable Sentencing
Guidelines range at the time of sentencing;

c. As to Counts One and Three, in addition to a sentence of
imprisonment, the Court may impose a term of supervised release of up to three (3)
years; that the Court must impose a period of supervised release if a sentence of
imprisonment of more than one year is imposed;

d. As to Two of the Indictment, in addition to a sentence of
imprisonment, the Court may impose a term of supervised release of up to one (1)
year; that the Court must impose a period of supervised release if a sentence of
imprisonment of more than one year is imposed;

e. As to Count Four of the Indictment, in addition to a sentence of
imprisonment, the Court may impose a term of supervised release of up to five (5)
years; that the Court must impose a period of supervised release if a sentence of
imprisonment of more than one year is imposed;

f. If the defendant violates a condition of supervised release, the Court
may revoke that supervised release and impose an additional period of
imprisonment without credit for time previously spent on supervised release. In
addition to a new term of imprisonment, the Court also may impose a new period
of supervised release;

g. The Court may impose any sentence authorized by law, including a
sentence that is outside of, or departs from, the applicable Sentencing Guidelines
range;

h. Any sentence of imprisonment imposed by the Court will not allow

for parole;

i. The Court is not bound by any recommendation regarding the
sentence to be imposed or by any calculation or estimation of the Sentencing
Guidelines range offered by the parties or the United States Probation Office; and

j. The defendant may not withdraw his guilty plea solely because of
the nature or length of the sentence imposed by the Court.

7. Government’s Agreements. Based upon evidence in its possession at this time, the

United States Attorney’s Office for the Western District of Missouri, as part of this plea agreement,

agrees not to bring any additional charges against the defendant for any federal criminal offenses
8

Case 4:24-cr-00177-DGK Document 204 _ Filed 05/13/25 Page 8of18
related to assault and attempt to commit assault with a dangerous weapon in aid of racketeering,
and discharge of a firearm during and in relation to a crime of violence, for which it has venue and
is related to the events which arose out of the defendant’s conduct described in Paragraph 3 above.

The defendant understands that this plea agreement does not foreclose any prosecution for
an act of murder or attempted murder, an act or iene act of physical or sexual violence against
the person of another, or a conspiracy to commit any such acts of violence or any criminal activity
of which the United States Attorney for the Western District of Missouri has no knowledge.

The defendant recognizes that the United States’ agreement to forego prosecution of all of
the criminal offenses with which the defendant might be charged is based solely on the promises
made by the defendant in this agreement. If the defendant breaches this plea agreement, the
United States retains the right to proceed with the original charges and any other criminal
violations established by the evidence. The defendant expressly waives his right to challenge the
initiation of the dismissed or additional charges against him if he breaches this agreement. The
defendant expressly waives his right to assert a statute of limitations defense if the dismissed or
additional charges are initiated against him following a breach of this agreement. The defendant
further understands and agrees that if the Government elects to file additional charges against him
following his breach of this plea agreement, he will not be allowed to withdraw his guilty plea.

8. Preparation of Presentence Report. The defendant understands the United States

will provide to the Court and the United States Probation Office a government version of the
offense conduct. This may include information concerning the background, character, and
conduct of the defendant, including the entirety of his criminal activities. The defendant
understands these disclosures are not limited to the count to which he has pleaded guilty. The

United States may respond to comments made or positions taken by the defendant or the

9

Case 4:24-cr-00177-DGK Document 204 _ Filed 05/13/25 Page9of18
defendant’s counsel and to correct any misstatements or inaccuracies. The United States further
reserves its right to make any recommendations it deems appropriate regarding the disposition of
this case, subject only to any limitations set forth in this plea agreement. The United States and
the defendant expressly reserve the right to speak to the Court at the time of sentencing pursuant
to Rule 32(1)(4) of the Federal Rules of Criminal Procedure.

9. Withdrawal of Plea, Either party reserves the right to withdraw from this plea

agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty and
its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored
to their pre-plea agreement positions to the fullest extent possible. However, after the plea has
been formally accepted by the Court, the defendant may withdraw his plea of guilty only if the
Court rejects the plea agreement or if the defendant can show a fair and just reason for requesting
the withdrawal. The defendant understands that if the Court accepts his plea of guilty and this
plea agreement but subsequently imposes a sentence that is outside the defendant’s applicable
Sentencing Guidelines range, or imposes a sentence that the defendant does not expect, like or
agree with, he will not be permitted to withdraw his plea of guilty.

10. Agreed Guidelines Applications. With respect to the application of the

Sentencing Guidelines to this case, the parties stipulate and agree as follows:

a. The Sentencing Guidelines do not bind the Court and are advisory
in nature. The Court may impose a sentence that is cither above or below the
defendant’s applicable Guidelines range, provided the sentence imposed is not
“unreasonable”;

b. The applicable Guidelines section for the offense of assault with a
dangerous weapon in aid of racketeering, and attempt to commit assault with a
dangerous weapon in aid of racketeering, in violation of 18 U.S.C. §§ 1959(a)(3),
(6) and 2, as charged in Counts One, Two and Three of the Indictment, is U.S.S.G.
§ 2A2.2(a) and § 2E1.3(a)(2), which provides for a base offense level of 14;

10

Case 4:24-cr-00177-DGK Document 204 Filed 05/13/25 Page 10of18
£. The parties agree that a +5 level enhancement is applicable, pursuant
to U.S.S.G, § 2A2.2(b)(2)(A), because a firearm was discharged;

d. The parties agree that a +7 level enhancement is applicable, pursuant
to U.S.S.G. § 2A2.2(b)(3)(C), because the victim sustained permanent or life-
threatening bodily injury;

e. The parties agree that the offense of discharge of a firearm during
and in relation to a crime of violence, in violation of 18 U.S.C. §§ 924(c)(1)(A)(iii)
and 2, as charged in Count Four of the Indictment, is governed by the provisions of
U.S.S.G. § 2K2.4(b) and the guideline sentence for this offense is the minimum
term of imprisonment required by statute, which shall be imposed to run
consecutively to any other sentence of imprisonment. Furthermore, pursuant to
U.S.S.G, §3D1.1(b)(1) and 5G1.2(a), this offense is not grouped with other
offenses of conviction;

f. The defendant has admitted his guilt and clearly accepted
responsibility for his actions, and has assisted authorities in the investigation or
prosecution of his own misconduct by timely notifying authorities of his intention
to enter a plea of guilty, thereby permitting the Government to avoid preparing for
trial and permitting the Government and the Court to allocate their resources
efficiently. Therefore, he is entitled to a three-level reduction pursuant to
§ 3E1.1(a) and (b) of the Sentencing Guidelines. The Government, at the time of
sentencing, will file a written motion with the Court to that effect, unless the
defendant (1) fails to abide by all of the terms and conditions of this plea agreement
and his pretrial release; or (2) attempts to withdraw his guilty plea, violates the law,
or otherwise engages in conduct inconsistent with his acceptance of responsibility;

g. The parties agree that the Court will determine his applicable
criminal history category after receipt of the presentence investigation report
prepared by the United States Probation Office;

h. The defendant understands that the estimate of the parties with
respect to the Guidelines computation set forth in the subsections of this paragraph
does not bind the Court or the United States Probation Office with respect to the
appropriate Guidelines levels. Additionally, the failure of the Court to accept
these stipulations will not, as outlined in Paragraph 9 of this plea agreement,
provide the defendant with a basis to withdraw his plea of guilty;

i, The defendant consents to judicial fact-finding by a preponderance
of the evidence for all issues pertaining to the determination of the defendant’s
sentence, including the determination of any mandatory minimum sentence
(including the facts that support any specific offense characteristic or other
enhancement or adjustment), and any legally authorized increase above the normal
statutory maximum, The defendant waives any right to a jury determination
beyond a reasonable doubt of all facts used to determine and enhance the sentence

11

Case 4:24-cr-00177-DGK Document 204 _ Filed 05/13/25 Page 11of18
imposed, and waives any right to have those facts alleged in the Indictment. The
defendant also agrees that the Court, in finding the facts relevant to the imposition
of sentence, may consider any reliable information, including hearsay; and

j. The defendant understands and agrees that the factual admissions
contained in Paragraph 3 of this plea agreement, and any admissions that he will
make during his plea colloquy, support the imposition of the agreed-upon
Guidelines calculations contained in this agreement.

11. Effect of Non-Agreement on Guidelines Applications. The parties understand,

acknowledge and agree that there are no agreements between the parties with respect to any
Sentencing Guidelines issues other than those specifically listed in Paragraph 10, and its
subsections. As to any other Guidelines issues, the parties are free to advocate their respective

positions at the sentencing hearing.

12. Change in Guidelines Prior to Sentencing. The defendant agrees that if any
applicable provision of the Guidelines changes after the execution of this plea agreement, then any
request by defendant to be sentenced pursuant to the new Guidelines will make this plea agreement
voidable by the United States at its option. If the Government exercises its option to void the
plea agreement, the United States may charge, reinstate, or otherwise pursue any and all criminal

charges that could have been brought but for this plea agreement.

13. Government’s Reservation of Rights. The defendant understands that the

United States expressly reserves the right in this case to:

a. Oppose or take issue with any position advanced by defendant at the
sentencing hearing which might be inconsistent with the provisions of this plea
agreement;

b. Comment on the evidence supporting the charge in the Indictment;

e. Oppose any arguments and requests for relief the defendant might

advance on an appeal from the sentences imposed and that the United States
remains free on appeal or collateral proceedings to defend the legality and propriety
of the sentence actually imposed, even if the Court chooses not to follow any
recommendation made by the United States; and

12

Case 4:24-cr-00177-DGK Document 204 _ Filed 05/13/25 Page 12 of 18
d. Oppose any post-conviction motions for reduction of sentence, or
other relief.

14. Waiver of Constitutional Rights. The defendant, by pleading guilty,

acknowledges that he has been advised of, understands, and knowingly and voluntarily waives the
following rights:
a. The right to plead not guilty and to persist in a plea of not guilty;

b. The right to be presumed innocent until his guilt has been
established beyond a reasonable doubt at trial;

Gs The right to a jury trial, and at that trial, the right to the effective
assistance of counsel;

d. The right to confront and cross-examine the witnesses who testify
against him;

e. The right to compel or subpoena witnesses to appear on his behalf;
and

i The right to remain silent at trial, in which case his silence may not
be used against him.

The defendant understands that by pleading guilty, he waives or gives up those rights and
that there will be no trial. The defendant further understands that if he pleads guilty, the Court
may ask him questions about the offense or offenses to which he pleaded guilty, and if the
defendant answers those questions under oath and in the presence of counsel, his answers may
later be used against him in a prosecution for perjury or making a false statement. The defendant
also understands he has pleaded guilty to a felony offense and, as a result, will lose his right to
possess a firearm or ammunition and might be deprived of other rights, such as the right to vote or

register to vote, hold public office, or serve on a jury.

Case 4:24-cr-00177-DGK Document 204 _ Filed 05/13/25 Page 13 of 18
15. Waiver of Appellate and Post-Conviction Rights.

a. The defendant acknowledges, understands and agrees that by
pleading guilty pursuant to this plea agreement he waives his right to appeal or
collaterally attack a finding of guilt following the acceptance of this plea agreement,
except on grounds of (1) ineffective assistance of counsel; or (2) prosecutorial
misconduct.

b. The defendant expressly waives his right to appeal his sentence,
directly or collaterally, on any ground except claims of (1) ineffective assistance of
counsel; (2) prosecutorial misconduct; or (3) an illegal sentence. An “illegal
sentence” includes a sentence imposed in excess of the statutory maximum, but
does not include less serious sentencing errors, such as a misapplication of the
Sentencing Guidelines, an abuse of discretion, or the imposition of an unreasonable
sentence. However, if the United States exercises its right to appeal the sentence
imposed as authorized by 18 U.S.C. § 3742(b), the defendant is released from this
waiver and may, as part of the Government’s appeal, cross-appeal his sentence as
authorized by 18 U.S.C. § 3742(a) with respect to any issues that have not been
stipulated to or agreed upon in this agreement.

16. Financial Obligations. By entering into this plea agreement, the defendant

represents that he understands and agrees to the following financial obligations:

a. The United States may use the Federal Debt Collection Procedures
Act and any other remedies provided by law to enforce any restitution order that
may be entered as part of the sentence in this case and to collect any fine.

b. The defendant willfully and truthfully disclose all assets and
property in which he has any interest, or over which the defendant exercises control
directly or indirectly, including assets and property held by a spouse, nominee or
other third party. The defendant’s disclosure obligations are ongoing, and are in
force from the execution of this agreement until the defendant has satisfied the
restitution order in full.

6. Within 10 days of the execution of this plea agreement, at the request
of the USAO, the defendant agrees to execute and submit (1) a Tax Information
Authorization form; (2) an Authorization to Release Information; (3) a completed
financial disclosure statement; and (4) copies of financial information that the
defendant submits to the U.S. Probation Office. The defendant understands that
compliance with these requests will be taken into account when the United States
makes a recommendation to the Court regarding the defendant’s acceptance of
responsibility.

14

Case 4:24-cr-00177-DGK Document 204 Filed 05/13/25 Page 14 of 18
d. At the request of the USAO, the defendant agrees to undergo any
polygraph examination the United States might choose to administer concerning
the identification and recovery of substitute assets and restitution.

e. The defendant hereby authorizes the USAO to obtain a credit report
pertaining to him to assist the USAO in evaluating the defendant’s ability to satisfy
any financial obligations imposed as part of the sentence.

I: The defendant understands that a Special Assessment will be
imposed as part of the sentence in this case. The defendant promises to pay the
Special Assessment of $400 by submitting a satisfactory form of payment to the
Clerk of the Court prior to appearing for the sentencing proceeding in this case.
The defendant agrees to provide the Clerk’s receipt as evidence of his fulfillment
of this obligation at the time of sentencing.

g. The defendant certifies that he has made no transfer of assets or
property for the purpose of (1) evading financial obligations created by this
Agreement; (2) evading obligations that may be imposed by the Court; nor (3)
hindering efforts of the USAO to enforce such financial obligations. Moreover,
the defendant promises that he will make no such transfers in the future.

h. In the event the United States learns of any misrepresentation in the
financial disclosure statement, or of any asset in which the defendant had an interest
at the time of this plea agreement that is not disclosed in the financial disclosure
statement, and in the event such misrepresentation or nondisclosure changes the
estimated net worth of the defendant by ten thousand dollars ($10,000.00) or more,
the United States may at its option: (1) choose to be relieved of its obligations under
this plea agreement; or (2) let the plea agreement stand, collect the full forfeiture,
restitution, and fines imposed by any criminal or civil judgment, and also collect
100% (one hundred percent) of the value of any previously undisclosed assets.
The defendant agrees not to contest any collection of such assets. In the event the
United States opts to be relieved of its obligations under this plea agreement, the
defendant’s previously entered pleas of guilty shall remain in effect and cannot be
withdrawn.

17. Waiver of FOTA Request. The defendant waives all of his rights, whether asserted

directly or by a representative, to request or receive, or to authorize any third party to request or
receive, from any department or agency of the United States any records pertaining to the
investigation or prosecution of this case including, without limitation, any records that may be
sought under the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C.

§ 552a.
15

Case 4:24-cr-00177-DGK Document 204 Filed 05/13/25 Page 15of18
18. Waiver of Claim for Attorney’s Fees. The defendant waives all of his claims

under the Hyde Amendment, 18 U.S.C. § 3006A, for attorney’s fees and other litigation expenses
arising out of the investigation or prosecution of this matter.

19. Defendant’s Breach of Plea Agreement. If the defendant commits any crimes,

violates any conditions of release, or violates any term of this plea agreement between the signing
of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the
defendant provides information to the Probation Office or the Court that is intentionally
misleading, incomplete, or untruthful, or otherwise breaches this plea agreement, the United States
will be released from its obligations under this agreement. The defendant, however, will remain
bound by the terms of the agreement, and will not be allowed to withdraw his plea of guilty.

The defendant also understands and agrees that in the event he violates this plea agreement,
all statements made by him to law enforcement agents subsequent to the execution of this plea
agreement, any testimony given by him before a grand jury or any tribunal or any leads from such
statements or testimony shall be admissible against him in any and all criminal proceedings. The
defendant waives any rights that he might assert under the United States Constitution, any statute,
Rule 11(4) of the Federal Rules of Criminal Procedure, Rule 410 of the Federal Rules of Evidence,
or any other federal rule that pertains to the admissibility of any statements made by him
subsequent to this plea agreement.

20. Defendant’s Representations. The defendant acknowledges that he has entered

into this plea agreement freely and voluntarily after receiving the effective assistance, advice and
approval of counsel. The defendant acknowledges that he is satisfied with the assistance of
counsel, and that counsel has fully advised him of his rights and obligations in connection with

this plea agreement. The defendant further acknowledges that no threats or promises, other than

16

Case 4:24-cr-00177-DGK Document 204 Filed 05/13/25 Page 16 of 18
the promises contained in this plea agreement, have been made by the United States, the Court, his
attorneys or any other party to induce him to enter his plea of guilty.

21. No Undisclosed Terms. The United States and defendant acknowledge and agree

that the above-stated terms and conditions, together with any written supplemental agreement that
might be presented to the Court in camera, constitute the entire plea agreement between the parties,
and that any other terms and conditions not expressly set forth in this agreement or any written
supplemental agreement do not constitute any part of the parties’ agreement and will not be
enforceable against either party.

22. Standard of Interpretation. The parties agree that, unless the constitutional

implications inherent in plea agreements require otherwise, this plea agreement should be
interpreted according to general contract principles and the words employed are to be given their
normal and ordinary meanings. The parties further agree that, in interpreting this agreement, any
drafting errors or ambiguities are not to be automatically construed against either party, whether
or not that party was involved in drafting or modifying this agreement.

Jeffrey P. Ray
Acting United States Attorney

Dated: ©, 3 [20a 7 <r SC,

Bradley K. Kavanaugl
Assistant United States Attorney
Violent Crime & Drug Trafficking Unit

17

Case 4:24-cr-00177-DGK Document 204 _ Filed 05/13/25 Page 17 of 18
I have consulted with my attorney and fully understand all of my rights with respect to the
offenses charged in the Indictment. Further, I have consulted with my attorney and fully
understand my rights with respect to the provisions of the Sentencing Guidelines. I have read
this plea agreement and carefully reviewed every part of it with my attorney. I understand this
plea agreement and I voluntarily agree to it.

Dated: SU fer f

Christopher W. McGowen
Defendant

Tam defendant Christopher W. McGowen’s attorney. I have fully explained to him, his
rights with respect to the offenses charged in the Indictment. Further, I have reviewed with him
the provisions of the Sentencing Guidelines, which might apply in this case. I have carefully
reviewed every part of this plea agreement with him. To my knowledge, Christopher W.
McGowen’s decision to enter into this plea agreement is an informed and voluntary one.

we SUE — Lepr

Gregory Nathaniel Watt
Attorney for Defendant Christopher W.
McGowen

18

Case 4:24-cr-00177-DGK Document 204 Filed 05/13/25 Page 18 of 18
